       Case 2:22-cr-00009-SB Document 36 Filed 02/06/23 Page 1 of 1 Page ID #:207
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER:
 UNITED STATES
                                                                               20-CR-009-SB
                                              PLAINTIFF(S)
                             v.
 THOMAS H. PETERS                                                     NOTICE OF MANUAL FILING
                                                                            OR LODGING
                                           DEFENDANT(S).

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      Other:




 2/6/2023                                                      Susan Har
Date                                                          Attorney Name
                                                              USA
                                                              Party Represented


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